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                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLO RIDA
                           CASE NO .11-20279-CR-M ARTINEZ

 UNITED STATES O F AM ERICA,

              Plaintil,

M.

MA RINA TURCINA,

              Defendant.
                                  I

                          REPO RT AND RECOM M ENDATIO N

       O n oraboutNovem ber28,2011,coud-appointed defense counselPaulJ. Donnelly

(1'CounseI'')submitted a voucherapplication numbered FLS 11 2148 with appended time
sheetsrequesting$39,029.61asfinalpaymentforattorney'sfeesand costspursuanttothe
Crim inalJusticeAct(the$'CJA'').Counselalso submitted a Ietterdated Novem ber28, 2011
in supportofhis voucherapplication.

       CounselrepresentedDefendantMarinaTurcina(t'Defendanr')forsixmonthsfrom his
appointm enton April6,2011 untilOctober31, 2011 and seeks com pensation forthis time

inthe voucherapplication.Counselseeks $39,029.61in his application, an am ountwhich
exceedsthe $9,700.00 statutory maximum allowed forrepresentation in non-capitalfelony
cases underthe CJA . As a result,United States District Coud Judge Jose E Martinez
                                                                           .



entered an Order of Reference IDE # 5751 referring the voucher application to the
undersigned fora Repodand Recom m endationastowhetherthefeesrequested bycounsel

are appropriate.See 28 U.S.C.j 636(a),'see also United States DistrictCoud forthe
Southern DistrictofFlorida M agistrate Judge Rules.
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                 Crim inalJustice Actand G uidelines forAdm inistering
                                the Crim inalJustice Act
       The United StatesJudicialConference developedthe G uidelinesforAdm inisteringthe

CJA and Related Statutes (the ''
                               G uidelines'
                                          ') to assist couds in the application of the
provisions ofthe CJA. See In re Burge6 498 U S.233,234,111S.Ct.628 (1991). Inthe
                                                .




Guidelines,judgesare ''urged to compensate counselata rate and inanamountsufficient
to coverappointed counsel's generaloffice overhead andto ensure adequate com pensation

forrepresentation provided.''SeeSection 5630.20 ofthe Guidelines.
       The CJA at 18 U.S.C. j3006A(d)(1) provides that at the conclusion of CJA
representation,an appointed attorney shallbe com pensated fortim e expended in coud and

for tim e '
          dreasonably expended out of courf'and shall be reim bursed ''for expenses

reasonably incurred.'' The district coud,as the body em powered to ''
                                                                    fix''CJA appointed

counselcom pensation,has the statutory authority and discretion to determ ine what is a

reasonable expense ora reasonable use ofbillable time. 18 U.S.C.j3006A(d)(5)'
                                                                            ,U.S.v.
Griggs,240 F.3d 974 (11thcir.2001). Inorderforthe recommended fee amounttoexceed
the statutory m axim um ,however,the districtcourtm ustfirstcedify thatthe case involves

d
'com plex''or'extended''representation.18 U .S.C.j3006A(d)(3).Second,thedistrictcoud

m ustconclude thatthe am ountis necessary to provide Counselwith faircom pensation    .



      A case m ay be considered ''com plex'
                                          'if the Iegalorfactualissues in a case are

unusual,thus requiring the expenditureofm oretim e, skilland effortbythe Iawyerthanwould

norm ally be required in an average case. See Secti
                                                  on 5230.23.404b)ofthe Guidelines.A
case m ay be considered 'dextended''ifmore tim e is reasonably required fortotalprocessing

than the average case,including pre-trialand post-trialhearings. Id.
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                                       DISCUSSIO N

                                 This Case W as Com plex

       Underthe Guidelines,in orderto approve a requestforcompensation in excessofthe

statutory m axim um ,Im ustfirstfind thatthe representationwas eithercom plex orextended   .



This case was com plex fortwo reasons.

       First,the very nature and num berofcharges involved in this case required Counsel

to expend m ore time,skilland effortthan norm ally required in the average case This case
                                                                                .



originally commenced when the grand jury returned a sixty countIndictmentIDE # 1021
charging fifteen codefendants with num erous crim es including conspiracy to com m itwire

fraud,wire fraud,conspiracy to comm itfraud in connection w ith im m igration docum ents,

fraud in connection with im m igration documents and bribery ofa public official.

       Defendantwas specifically nam ed in Counts 1, VlI,VIII,IX,X,XI,XII,XIIl,XIV,XV ,

XVI,XV II,XVIII,XLI,LVIand LVII. ln Count1, Defendantwas charged with conspiracy to

commitwire fraud in violation of18 U.S.C.j 1349. In Counts VII-XVIII,Defendantwas
charged with wire fraud in violation of 18 U .S.C.j 1343. In Count,XLI,Defendantwas

charged with conspiracy to com m it fraud in connection w ith im m igration docum ents in

violation of18 U.S.C.j 371. In Counts LVland LVII,Defendantwascharged withfraud in
connection w ith im m igration docum ents in violation of 18 U S.C.j 1546.
                                                            .



      Defendantfaced a separate m axim um term oftwenty years im prisonm entforeach

of the follow ing Counts: 1, VII,V IIl, IX , X,XI,XII,XlII,XIV,XV,XVI,XVII and XVIII.

Defendantfaced a term offive years im prisonmenton the conspiracy to com m itfraud in

connection with im m igration docum ents charge and ten years im prisonmenton each ofthe
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two imm igration fraud charges. CounselIater entered a plea of guilty to one count of

conspiracyto commitwire fraud.Isee DE # 3351.She wassentenced to time served and
ordered to pay$44,665.18 in restitution.Isee DE # 4661.
       Second,discoverywas volum inous in this case.I'
                                                     The discovery in this case involved

over500 hoursofvideo and audio-video recordingsand m orethan lz,ooodocuments.M any

ofthe defendantsand co-conspiratorsspoke Englishasa second Ianguage and spoke either

Russian orLatvian on the tapes,and this Ied to extensive tim e with m y clientand a Russian

translatordeciphering whatwas said ordiscussed in the recordings. (November28,2011

Ietterat1).
       Additionally,''untilm id-August,2011,Ms.Turcina insisted on proceeding to trial As
                                                                                      .



a result,the undersigned was preparing fortrialfrom Aprilthrough Augustin earnest As  .



m entioned above,the investigation and resul
                                           ting discovery was m assive M s.Turcina and
                                                                        .




counselhad to fully review the discovery and prepare forthe testim ony ofm any victim s, a

num berofcooperating co-defendants,and the Iaw enforcem entagents.' (November28,

2011 letterat4). The sheervolume ofevidence which Counselhad to review in orderto
effectively representDefendantrendered this case more com plex than the average case.

       Third,d'Defendant'sfirstIanguagesare Latvian and Russian, and Englishwastruly her

secondIanguage.Each meetingwiththe DefendanjatFDc-MiamiwasheldwithaRussian
interpreter,and the manymeetingsatthejailweretime-consuming.' (November28,2011
letterat4).ltisclearthatthe language barrierbetweenCounselandDefendantcontributed
to the com plexity ofthis case.




                                           4-
                                           -
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       Itis clearfrom the record thatthe Iegaland factualissues in this case were unusual .



Consequently,lconclude thatthis m atterrequired the expenditure ofm ore tim e, skilland

effortby Counselthan would norm ally be required in the average case. As Ihave concluded

thatthe representation provided by Counselwas complex, Im ustnow review the voucherto

determ ine the appropriate amountforwhich Counselshould be com pensated in excess of

the $9,700.00statutorymaxim um.
                       VoucherAm ount-Adm inistrator's Review

       The Court's CJA adm inistratorfirstreviewed the voucherforcom pliance w i
                                                                               th the

Guidelinesand m athem aticalaccuracypriorto m yreview . Counselrequested com pensation

for5.0 in-courthourstotaling $625.00.
      The CJA adm inistratoralso reviewed the 306 5out-of-coud hourssoughtby Counsel
                                                   .                                      .



Counselsoughtcom pensation for75.7 hours for''lnterviews and conferences'
                                                                        'and 186 6    .



hours for'Obtaining and review ing records.'' Counselalso soughtcom pensation for 16 4.



hours for''Legalresearch and briefwriting''and 27.8 hours ofd'Traveltim e ''
                                                                          .



      Counselsought$37.10in'TravelExpenses.''Lastly,Counselsought$55.01in''Other
Expenses.''

                                    In-coud Hoursl

      Counselsoughtcompensation for5.0 in-courthours totaling $625.00 The CJA  .



adm inistrator made no changes to eitherthe totalnum berof in-coud hours orthe total

am ountofcompensation soughtforthis tim e. lapprove $625.00 asreasonabl
                                                                      e.

         1

        The undersigned defers to the CourtClerkto verify aIIin-courttim e and expense
  allowances.
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                                   Out-of-coud Hours

       lnthe voucher,Counselsoughtcom pensation for306 5 out-of-courthours.The CJA
                                                           .



adm inistratorreviewed the voucherand m ade one change to the num berofout- of-coud

hoursorthe totalam ountclaim ed by Counsel The CJA adm inistratorslightly decreased the
                                             .



num berofhours for''
                   O btaining and reviewing records''to 186 4 (from 186.6 hours). Thi
                                                               .                    s
resulted in a sm allreduction in the totalamountofout-of-coud hours to 306. 3 hours. This

also resul
         ted in a sm alldecrease forthe totalam ountCounselsoughtforoutof-courthours
                                                                          -




to $38,287.50 (from $38,312.50).
       Although the majorityofCounsel'stime entriesare appropriate,Counselincluded
som e entries forclericalm atters which are noteligible forreim bursementunderthe CJA .

Counselbilled numerous entries (of 0.1 hour)fordrafting basic Ietters to the Federal
Detention Centerregarding legalvisits.The entries were on the following dates:4/6/2011,

4/7/2011,4/8/2011, 4/11/2011, 4/19/2011, 4/28/2011, 5/9/2011, 5/19/2011,5/24/2011,

5/26/2011, 6/8/20112, 6/9/2011, 6/13/2011,6/22/2011, 6/28/2011, 7/1/2011, 7/6/2011,

7/16/2011, 7/19/2011, 8/2/2011, 8/5/2011, 8/15/2011, 8/18/2011,8/19/2011, 9/7/2011,
10/3/2011 and 10/25/2011.

      Irecom m end that the above entries be elim inated because these entries reflect

clericalduties that are not com pensable The Gui
                                         .
                                               delines make clearthat''Ielxcept in
extraordinarycircumstances,w hetherwork is perform ed by counselorotherpersonnel, the
following expensesassociatedwith ClA representation are notreim bursable:personnel,'rent;


         2

         Counselbilled 0.2 hours fordrafting a ''Ietterto FDC Legalre:approvalforjoint
  meeting w/clients.''
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telephone service; and secretarial.''   Section 5230.66.10(b) of the Guidelines. The
 ''Supplem ental Instructions for Completing CJA20 Vouchers'
                                                           'form (the d'Supplemental
 Instructions'')provided by the Coud reinforces the Guidelines:''Icllericalwork (copying,
faxing,mailing,etc.)associated with CJA representation,whetherwork is performed by
counselorotherpersonnel,is notreim bursable. ' Accordingly,Irecom mend thatCounsel

should notbe compensated forthe above Iisted entries. This results in a totalreduction of

$350.00.
       Counselalso included two otherproblem atic entries. Counselincluded an entry for

'Filed speedytrialwaiver'',seeking 0. 1hourascom pensation. Thisisalso a clericaltaskthat

is notcöm pensable underthe CJA Accordingly,itisproperto deductthisentryw hich results
                                 .



in a reduction of$12.50 from thevoucher.
      The lastproblem atic entry was a 1.0 hourentry for'Drafted M otion forPaymentof

Discovery Costs'
               'on 5/11/2011.Counselbilled 1 0 hourforthisentry.The M otion consisted
                                               .



ofonlytwo substantive pages.Ifind that1 0 hourofattorneytim ewasexcessive forthistask
                                        .



and recom m end thatCounselbe com pensated only 0.3 hours forthis task. This results in

a reduction of$87.50.
      lfind,however,thatthe rem aining out-of-courthours Iisted in the voucherapplication

are appropriate. Factoring in m y deductions, Irecom m end thatCounselshould be paid

$37,837.50forhis out-of-courthours.
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                                         Expenses

         Counselsought$37.10 in ''TravelExpenses''Counselalsosought$55 01 in ''Other
                                                         .
                                                                                 .


 Expenses.' The CJA adm inistratorm ade no correctionsto eitheram o
                                                                   unt.Ihereby approve
 the $37.10 in ''
                TravelExpenses'
                              'and the $55 01 in ''OtherExpenses ''
                                                 .                   .



                                      CONCLUSION
        Icom mend Counselforhis professionalism and willingnesstotakethi
                                                                          sappointm ent'
                                                                                       ,
 the undersigned isappreciative ofhisefforts inthiscase As Iexplained above
                                                                           , because t
                                                                                     he
                                                             .



 representation in this case was com plex, Irecom m end thatCounselbe reim bursed foran

 amountinexcess ofthestatutorymaxim um of$9,700.00.
        Based upon m y review ofthe tim e sheets, the Motion,the docketand filings in this

 case,IRECOMMEND thatCounselbe paid $38,554.61 as fairand finalcom pensation for
 his work in this case.

       In accordance w ith 28 U.S.
                                 C.j636(b)(1),the padies shallhave foudeen (14)days
from receiptofthis Repod and Recom mendation to serve and file anyw
                                                                         rittenobjectionswith
the Honorable Jose E.M adinez, Uni
                                 ted States DistrictJudge        .




                                        signedthis z7 mdayofFebrua 2012.
                                                                 W
                                           - -
                                                     'f- - - - ' .
                                                 -7.pv
                                                     .

                                          Ay yw
                                       PETER R.PALERM O
                                       SR.UNITED STATES M AG ISTRATE JUDG E
Copies furnished to:

      PaulJ.Donnelly, Esq.
      Lucy Lara,CJA adm inistrator

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